

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 74,949






EX PARTE LARRY SWEATT, Applicant








ON APPLICATION FOR WRIT OF HABEAS CORPUS 


FROM NUECES COUNTY






	Per Curiam.



O R D E R



	This is an application for a writ of habeas corpus which was transmitted to this Court
by the clerk of the trial court pursuant to the provisions of Article 11.07, V.A.C.C.P.  Ex Parte
Young, 418 S.W.2d 824 (Tex. Crim. App. 1967).  Applicant was convicted of burglary of a
habitation and punishment was assessed at seven years in prison. 

	Applicant contends that he was denied his opportunity to appeal by the trial court.  The
State concedes, and the trial court finds, that Applicant is entitled to an out-of-time appeal. 
Therefore, Applicant is entitled to relief and Applicant is granted leave to file an out-of-time
appeal from his conviction in cause number 2002-CR-1415-A from the 28th Judicial District
Court of Nueces County. 

	The proper remedy in a case such as this is to return Applicant to the point at which he
may give written notice of appeal.  He may then follow the proper procedures in order that a
meaningful appeal may be filed.  We hold that should Applicant desire to seek to prosecute an
appeal, he must take affirmative steps to see that written notice of appeal is given within thirty
days after the mandate of this Court has issued.

	

DELIVERED: May 19, 2004

DO NOT PUBLISH


